                       Case 1:25-cv-01405                 Document 1-6         Filed 05/08/25        Page 1 of 2

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7('67$7(6',675,&7&2857
                                                                    IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                       Angelica S., et al.




                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R
 U.S. Department of Health and Human Services, et
                        al.


                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV U.S. Department of Health and Human Services
                                          Robert F. Kennedy, Jr., Secretary of HHS
                                          Angie Salazar, Acting Dir. of the Office of Resettlement
                                          c/o Civil Process Clerk, U.S. Attorney's Office for the District of Columbia
                                          601 D Street, NW
                                          Washington, DC 20004


          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH David Hinojosa
                                          818 Connecticut Ave. NW, Ste. 425
                                          Washington, DC 20006




       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                 $1*(/$'&$(6$5&/(5.2)&2857


'DWH
                                                                                            6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                        Case 1:25-cv-01405                 Document 1-6         Filed 05/08/25            Page 2 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                               RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                         ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                               RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                RU

           u 2WKHU VSHFLI\ 
                                                                                                                                             


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI           0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
